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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 19-cv-_____

Double Barrel Reality Investments, LLC,
A Colorado Limited Liability Company,


       Plaintiffs,

v.

SPECTRUMS U.S.A., an Unregistered California entity or D/B/A;
CHRISTOPHE BRAYER, individually; &
CB2O, LLC., a California Limited Liability Company,

      Defendants.
_____________________________________________/
_____________________________________________________________________________

                         COMPLAINT FOR DAMAGES
______________________________________________________________________________

       Plaintiff, Double Barrel Reality Investments, LLC, (“DB”) a Colorado Limited Liability

Company, HEREBY sues and submits this Complaint against the Defendants, SPECTRUMS

U.S.A., (“Spectrums”), an unregistered California entity, CHRISTOPHE BRAYER, individually

and in his capacity with Spectrum U.S.A., & CB2O, LLC., a California Limited Liability

Company, [Defendants collectively shall be referred to as “Defendants”], as follows:



                                          PARTIES


       1.      Plaintiff, Double Barrel Reality Investments, LLC, (“DB”), a Colorado Limited

Liability Company, with its principle offices located at 6411 S. Jamaica Circle, Englewood,

Colorado 80111 and is sui juris. DB has two members within the LLC, as follows:

            a. Craig Brand a citizen and resident of Englewood, Colorado, Arapahoe County; and,

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            b. Mandon Bossi, an Australian citizen and resident of the State of Utah.

       2.      Defendant, SPECTRUMS U.S.A., (“Spectrums USA”) has been represented by

Defendant Christophe Brayer as an unregistered California entity that acts as a U.S. counter-part

or associate to what he calls the parent company, i.e., Spectrums Europe, SAS, a French corporate

entity located in Paris, France. Defendant Brayer has described Spectrum USA as the US sales

arm for Spectrums Europe and not a true corporate entity but rather an alter ego of himself and

that of the European Counter-Part (Spectrums EU), that Defendant Brayer also holds himself out

as being the majority owner.

       3.      Defendant Brayer is a French citizen, residing in the State of California and living

in Beverly Hills, Los Angles. At all times material hereto, Defendant Brayer has represented

himself as the President and majority owner of Spectrums EU and Defendant CB2O, LLC.

Defendant Brayer has represented himself as the only individual involved within the so-called

Spectrums USA.

       4.      Defendant CB2O, LLC., (“CB2O), is an active Delaware limited liability company

registered with the Secretary of State of Delaware and whose principal place of business is located

at 5670 Wilshire Blvd., Suite 1802, Los Angeles, CA. 90036. CB2O’s Managing Member is

Christophe Brayer who is permanently domiciled in the State of California, a French citizen and

CB2O’s two other members reside and are permanently domiciled in the Country of France. These

two other French members are: Olivier Garcon and Olivier Chauve; both of whom permanently

reside in the Country of France.




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                                  JURISDICTION AND VENUE

        5.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332 over the subject matter

presented in this Complaint because the matter in controversy exceeds the sum or value of $75,000,

exclusive of interests and costs, and, as set forth below, diversity of citizenship exists as authorized

by 28 U.S.C. § 1332(a) and 28 U.S.C. § 1332(c).

        6.      The Defendants have transacted business in Colorado, the property involved (see,

Property description in Exhibits “A” & “B”), was taken from the State of Colorado and needs to

be returned to the State of Colorado, and the Defendants engaged in a substantial part of the tortious

actions and events, complained of herein, giving rise to this action in the State of Colorado,

including the torts and breaches, complained of herein, against the Defendants. Additionally, the

purchase orders were created in Colorado, the Defendants wire transferred monies, on several

occasions, into Chase Bank in Centennial, Colorado, and the Defendants communicated with the

Plaintiff by telephone, email, text, and digital applications into Colorado as well as having sent

representatives to the site location to inspect, agree to, and receive the property set forth on the

Exhibits (“A” & “B”, attached hereto).

        7.      Venue is proper in this Court pursuant to 15 U.S.C. § 77l and 28 U.S.C. § 1391, as

substantial part of the actions and events giving rise to this action in the State of Colorado.

        8.      This Complaint is not a collusive action to confer jurisdiction that the Court would

otherwise lack.




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                                       INTRODUCTION

       9.      This action is being brought as a result of the Defendants wrongful actions against

the Plaintiff so as to take property, (Exhibit “A” & “B”), without having to complete payments,

including the intentional, knowing, and deliberate actions of theft, conspiracy to defraud, and

breach of contract against the Plaintiffs. Such wrongful, tortuous actions by the Defendants have

left them owing, at a minimum, $125,000, plus the costs of shipping and handling logistics from

Minnesota back to Colorado, estimated at $35,000, not including any legal fees or costs, plus the

fees and expenses incurred by Plaintiff due to Plaintiffs failure or refusal to properly gather all

remaining materials off of the landlords property site for which DB was occupying.

       10.     When looking at the chain of events, Defendants embarked on a pre-planned and

calculated scheme to defraud Plaintiff by leveraging a friendship and intentionally pushing back

and reducing payments under false pretenses. Defendants now are left with nothing but a bag full

of empty promises, continued excuses and the game of “blaming others” for what is the Defendants

own faults and shortcomings.

                                     GENERAL ALLEGATIONS

       11.     Plaintiff readopts and reaffirms the allegations set forth herein above, specifically

within paragraphs 1 – 10.

       12.     In early to mid-July 2019, the Plaintiff and Defendants agreed on terms and

conditions as to Plaintiff selling various farming equipment to Defendants for Defendants’ farming

operations. (See, Exhibit “A”, attached hereto and incorporated herein).




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       13.     On July 29, 2019, the Plaintiff solidified the agreed upon terms and conditions of

Exhibit “A”, by way of the creation of an invoice (Exhibit “A”), which was agreed to the same

day by Defendant Brayer, and then by course of conduct, on the Defendants part, in furtherance of

the exhibit’s agreed to content.

       14.     Exhibit “A”, states that various farming equipment would be sold to Defendants for

the amount of $275,000. Prior to the drafting of Exhibit “A”, which the Defendant failed to tender

a mutual, executed copy thereof, in spite of informing Mr. Brand that one so exists; the Parties

orally agreed on a more realistic purchase amount of $375,000, unless the terms of Exhibit “A”

were agreed upon and satisfied. These “terms” were: $100,000 down with balance to be paid

within 4 weeks of delivery. Buyer responsible for shipping and handling, including price of

logistics, labor and off-loading. Pick Up location: 2754 E. Hwy 402, Loveland. CO. 80537 (which

is Plaintiff’s farming address) and delivered to a site location Defendants selected in Mankato,

MN.

       15.     At no time hereto did the Defendants timely make the deposit transfer and in fact,

subsequent to Exhibit “A” being agreed upon, Defendant tried to stall any payment to after

Defendants hemp harvest – months in the future. There was a lot of excuses, and due to the positive

relations between the parties, the Plaintiff permitted the excuses to continue while politely pressing

for the monies owed.

       16.     At all times material hereto, the Defendant inspected the items set forth within

Exhibit “A”. Defendant on at least two occasions sent their representative Shaun Crawford to the

DB Colorado location to engage and fulfill a pre-site inspection and agreement of the goods to be

purchased and received.




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       17.     At all times material hereto Mr. Crawford and Mr. Brayer informed DB that they

were very satisfied in both value and property with what they are purchasing and would be timely

and properly wiring said monies.

       18.     At all times material hereto, the Defendants failed or refused to handle, properly

arrange, and properly coordinate their shipping, handling and logistics. This refusal or failure

created a huge breach for the Plaintiff as the Plaintiff had to evacuate the leased property, given

the termination of the lease, and had an agreement in place with the landlord. Due to the

relationship between the parties, the Defendant Brayer knew that Plaintiff was dealing with an

impending timeline and used this knowledge and leverage to his advantage.

       19.     As a direct and proximate result of the Defendants failure or refusal to handle their

own shipping, handling and logistics, the Plaintiff was forced to handle that matter for the

Defendants and do so at a tremendous cost and disruption to Plaintiff; ultimately costing the

Plaintiff more damages and costs than anticipated and for which the Defendants have failed to

reimburse Plaintiff.

       20.     Nonetheless, the subject items arrived at the location selected by the Defendants in

the State of Minnesota on or about mid-July 2019 and spanning several days thereafter. Upon and

after the arrival of the subject items, Defendant Brayer was singing nothing but happiness and

praises as to the subject property and the shape and condition it was all in, in spite of having put

no sweat into getting the equipment to Minnesota and placing all of the burden on the Plaintiff -

last minute.

       21.     The Parties met at the Mankato, MN location upon the trucks’ arrivals and made

sure everything was proper and well. Defendants accepted and were happy with everything sent

and now in Mankato, MN., out of the possession and control of Plaintiff.



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       22.     Upon returning from Mankato, MN, Craig Brand, Managing Member of the

Plaintiff did a walk through, site inspection of the leased property from which the subject items

were shipped from. The logistic company was supposed to take everything but could not and the

Defendant Brayer and his representative Shaun Crawford were made aware of that. Shaun was

told by Brayer to go to Colorado, rent some trucks and bring back the remainder. Mr. Brand

immediately reported back to Mr. Brayer and Mr. Garcon, that Defendants agriculture manager,

Shaun Crawford, did not take or was unable to take all of the stated items when he arrived on the

farm. These items were abandoned by the Defendants and given the end of the lease, also out of

the possession and control of the Plaintiff.

       23.     Mr. Brand informed the Defendants that certain side pieces were left at the farm,

belonging to the grow house, also furniture, lighting, electronics, fans, poly-tenting, and pots were

all left. Mr. Brayer and Mr. Crawford then told Mr. Brand that Mr. Crawford and his brother only

rented one truck and fit in what they could and left the remainder. The Plaintiff was charged an

additional clean up and disposal fee by the property landlord in an amount approximating $18,000.


       24.     After more time went by, and the persistence of Mr. Brand, on or about August 14,

2019, the Defendant Spectrums EU finally paid the amount of 149,970, to Plaintiff, however, this

amount also included $3,500 in labor and certain logistical expenses.


       25.     As per Exhibit “A”, 4 weeks after delivery Plaintiff was to be paid off. To date,

Plaintiff has not been paid off. The terms and conditions of the oral agreement pre-dating Exhibit

“A” are to be in effect thus making the purchase price $375,000 and not $275,000.




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       26.      BACKGROUND INFORMATION LEADING UP TO EXHIBIT “A”


       A. At all times material hereto, the Plaintiff wanted a minimum of $375,000 for the

             products to be purchased by Defendants and contained on Exhibit’s “A” & “B”).

       B. Defendant Brayer used his personal relations with Craig Brand and a promise for rapid

             payment, in order to leverage a less expensive price.

       C. Brayer first agreed to the higher price of $375,000 but only if Plaintiff would wait until

             after the Defendants completed their hemp harvest in the State of Minnesota. This

             would have required the Plaintiff to wait until October 2019 to receive any payment.

       D. Plaintiff, not a bank and not wanting to wait months for a harvest or have their payment

             conditioned upon anything, respectfully declined. As a result, Defendant Brayer

             negotiated down the price by $100,000 on the promise that the terms set forth within

             Exhibit “A” would be honored.

       E. Plaintiff now believes that the Defendant Brayer’s negotiations and agreement were

             disingenuous, and that Defendant did and said what he had to in order to make himself

             the best deal possible knowing that he was going to stretch out the payments regardless

             of what agreement with Plaintiff he entered into.

       F. It is only because the Defendants promised and assured the terms of Exhibit “A” to be

             honored and fulfilled that Exhibit “A” was created and entered into, otherwise, Plaintiff

             would have made maintained the $375,000 price, or made other arrangements for the

             subject items/property, keeping them in the State of Colorado and selling them off or

             using them at a later date.

       27.      At all times not only did the Defendants not make one timely payment but in spite

of their harvest being completed and successful, Defendants still have failed to make the promised

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payments and have breached every document and promise agreed to. It is believed that the creation

of the documents to be mutually signed were nothing but rouses on the part of the Defendants in

order to simply gain more time in a disingenuous way. These breaches coming after the

agreements were first negotiated, agreed upon, and due to the partys’ relations – subsequently

reconfirmed in person as the Parties met and ratified the terms as well as Defendants providing

further assurances of compliance.

        28.     Additionally, the pattern of not paying suppliers and creditors appears to be repeat

with not just the Plaintiff. Plaintiff knows of other suppliers and laborers who performed work for

the Defendants in Minnesota for Defendants hemp harvest and in spite of the terms being agreed

upon, Defendants continued to wrongfully stagger wages and/or payment(s) beyond due dates,

stretch out reimbursements, and inform due and owing third parties that they had to wait until

harvest or payment out of the harvest to get paid. As such, it would appear a pattern of wrongful

actions of mis-leading creditors and/or entering into payment terms with third parties with no

intention on fulfilling or timely fulfilling the agreed upon conditions. Such deceit and dishonesty

or leveraging payments for additional, non-agreed to extra time is fraudulent and done with malice

intent in order for the Defendants to get what they wanted, when they wanted it, and at the expense

of the creditor(s) such as the Plaintiff herein.

        29.     Even after the Defendants successful harvest, the Defendants still would not pay,

have not paid, have not presented one reason for not doing so, have not conformed to any of the

agreements (exhibits herein) negotiated and agreed upon, and have demonstrated their true

wrongful intent and malice.




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       30.     Plaintiffs managing member had to plead to Defendants long-time friend, who

resides in the state of Florida, (“AB”), to interject on Plaintiffs behalf and help the parties avoid

expensive litigation.

       31.     Defendants long term friend, (“AB”), did interject on the parties behalf after

reviewing and being familiar with the matter and circumstances. AB simply asked of Plaintiff that

his friend Brayer wanted a new invoice made out not to Spectrums EU but to CB2O, LLC. It was

explained that Spectrums EU would have an easier time, given the common ownership, to wire

transfer the monies to CB2O and then CB2O would send the monies to Plaintiff. AB also asked

that Plaintiff draft a mutual release and set the payment terms.

       32.     Plaintiff knew that AB was really attempting to buy additional time as the excuses

were still just that; however, Plaintiff also knew that a week or two would still be faster than a

lawsuit. Thus, plaintiff complied with AB and his client’s request.

       33.      Plaintiff, after some back n forth with AB, who is also a Florida attorney and has

represented the Defendants in the past, emailed draft mutual releases until an agreement was

entered and AB notified Plaintiff by email/text that the Mutual Release, as drafted, was accepted

and that Plaintiff would sign and comply. (See, a copy of the new Invoice attached hereto as

Exhibit “B” and a copy of the agreed upon Mutual Release attached hereto as Exhibit “C”).

       34.     As a direct and proximate result of the agreement, supra, No. 33, above, Defendants

wire transferred the first installment payments, as per the written agreement. AB subsequently

emailed Plaintiff that the Defendants have shown their good-faith compliance with Exhibit “C” by

sending the wire. AB also sent Plaintiff a message that Exhibit “C” was fine.

       35.     As set forth in Exhibit “C” a second installment was due and owing November 15,

2019. This date has been subsequently acknowledged by AB and even AB believed that his clients



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would have sent the wire by such a time. November 15th came and went and when the Plaintiff

inquired to AB, AB still cannot explain why the wire didn’t occur as supposed to.

       36.     Since this time, supra, Plaintiff has not heard from AB or the Defendants regarding

the payment or any reason, whatsoever, as to why the promised payment didn’t arrive.



                                             CLAIMS

                            FIRST CLAIM FOR RELIEF
 (Enforcement of Oral Agreement Against Spectrums USA, Christophe Brayer and CB2O
                        And the Defendants’ Breaches Thereof)

       37.     Plaintiffs incorporate the preceding paragraphs as if fully set forth herein.

       38.     At all times material hereto Exhibits A, B and C were agreed upon, mutually drafted

and actions taken in furtherance by both parties to comply with the terms and conditions of these

Exhibits.

       39.     At all times material hereto, Plaintiff executed each of the exhibits and while it

appears that the Defendants did not return a signed copy, Defendants not only verbally informed

Craig Brand that the exhibits were executed, but the Defendants acted upon each of these exhibits

as if signed. Exhibit “C” even has an email confirmation from Defendants personal counsel that

Exhibits “B” and “C” were good as agreed upon and then was surprised to learn that Defendants

did not follow through on the second payment pursuant thereto.

       40.     At all times material hereto, at a minimum Oral Agreements were entered by and

between the parties.

       41.     At all times material hereto, the terms and conditions of these Oral Agreements

were stated, agreed upon and acted in furtherance thereof.

       42.     At all times material hereto, the Defendants are in breach of these agreements.



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        43.     As a direct and proximate result of the Defendants breaches, the Plaintiff has been

damaged.

        44.     All conditions precedent to this claim have been complied with.

        WHEREFORE, the Plaintiff prays that this Honorable Court grants judgment against the

Defendants Spectrums USA/Christophe Brayer, and CB2O, award damages, fees and costs,

interest at the maximum amount permitted by law and any and all other relief deemed just and

proper including but not limited to the logistic and shipping costs to have the subject property

returned to Plaintiff in Colorado.



                               SECOND CLAIM FOR RELIEF
                   (UNJUST ENRICHMENT-PLEADED IN THE ALTERNATIVE)

        45.     Plaintiff realleges paragraphs 1 through 36 of this Complaint and incorporates them

herein as if fully set out.

        46.     To the extent that the above-described Oral Agreement, supra, between Plaintiff

and Defendants is found to be unenforceable, Plaintiff alleges that by delivering possession of the

above-described Personal Property to the Defendants, DB has conferred a benefit upon the

Defendants of a fair market value of the Personal Property well in excess of Three Hundred

Seventy-Five Thousand Dollars ($375,000.00), and the Defendants received and accepted the

benefits conferred by Plaintiff.

        47.     Although Defendants have tendered a portion of the amounts due to Plaintiff, which

Plaintiff has credited against the fair market value of the Personal Property, it is unjust for

Defendants to retain the Personal Property without paying compensation to the Plaintiff of the full

fair market value of the Personal Property as of the date of tender.




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        48.     Further, it would be unjust for Defendant to retain, without paying Plaintiff the

commensurate value, the benefit of Plaintiff’s having to incur labor costs and clean up fees to the

landlord as a direct result of the Defendants failing to properly and timely handle the shipping

arrangements for the subject property.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, Double Barrel Realty Investments, LLC, a Colorado Limited

Liability Company, prays that this Court will either award Plaintiff its damages for Defendants,

CHRISTOPHE BRAYER, individually and d/b/a SPECTRUMS USA, and CB20, LLC, a

Delaware Limited Liability Company, jointly and severally, its damages for breach of the Oral

Agreement in excess of One Hundred Forty Thousand Dollars ($140,000.00), or an amount to be

determined at time of trial, plus prejudgment or, alternatively, will award Plaintiff its damages against

the Defendants, jointly and severally, commensurate with the uncompensated benefit conferred on the

Defendants in a sum in excess of One Hundred Forty Thousand Dollars ($140,000.00) to the Plaintiff

or an amount to be proven at time of trial, including the costs of returning the subject property to

Colorado from Minnesota. Plaintiff further prays for an award of its costs in this action against the

Defendants.


                              THIRD CLAIM FOR RELIEF
                         (Common Law Fraud Against All Defendants)

        49.     Plaintiffs incorporate the preceding paragraphs as if fully set forth herein,

specifically paragraphs 1-36.

        50.     Defendants made or caused to be made false representations of material facts and/or

failed to disclose material facts to Plaintiffs, as set out with particularity in the foregoing

paragraphs, including paragraphs 1 through 36.




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        51.     At the time of the Defendants representations and/or omissions, Defendants knew

that the representations were false and that the Plaintiff would reasonably rely upon them to

Plaintiff’s detriment.

        52.     Defendants made the representations with the intent that Plaintiffs would rely on

the representations and/or omissions, and in fact Plaintiffs did reasonably rely on the

representations and/or omissions in reducing the price and/or value of the goods sold and entering

into the Exhibits attached hereto all the while tendering and delivering the subject property to

Defendants possession in the State of Minnesota without complete payment.

        53.     Plaintiffs reliance was reasonable and justified.

        54.     Worse and callous, was the intentional and deliberate use by Defendant Brayer to

leverage his friendship with Mr. Brand in order to defraud and deceive Plaintiff.

        55.     Plaintiffs reliance upon Defendants’ false statements and omissions of material

facts caused Plaintiffs damages.

        56.     Plaintiffs have suffered damages in the amount of at least One Hundred Forty

Thousand Dollars ($140,000.00) as a result of their reliance on the Defendants’ false and

misleading statements and omissions. Those false and misleading statements and omissions

induced Plaintiffs to sell Defendants the subject goods which they would not have otherwise made,

in whole or in part, because the misrepresentations and omissions materially altered and/or

concealed the true risks and malicious intent of Defendants. Plaintiffs reserve the right to plead

for punitive damages against each and all of the Defendants as a direct and proximate result of

their fraudulent activity.

        WHEREFORE, Plaintiff, Double Barrel Realty Investments, LLC, a Colorado Limited

Liability Company, prays that this Court will either award Plaintiff its damages for Defendants,

CHRISTOPHE BRAYER, individually and d/b/a SPECTRUMS USA, and CB20, LLC, a

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Delaware Limited Liability Company, jointly and severally, or an amount to be determined at time of

trial, plus prejudgment or, alternatively, will award Plaintiff its damages against the Defendants, jointly

and severally, commensurate with the uncompensated benefit conferred on the Defendants in a sum in

excess of One Hundred Forty Thousand Dollars ($140,000.00) to the Plaintiff or an amount to be

proven at time of trial, including the costs of returning the subject property to Colorado from

Minnesota. Plaintiff further prays for an award of its costs and attorney fees in this action against the

Defendants as well as reserves the right to plead punitive damages.



                                 FIFTH CLAIM FOR RELIEF
                            (Civil Theft – Colorado Revised Statutes)
              (Direct Claim Against Spectrum USA, Christophe Breyer and CB2O)

        57.     Plaintiffs incorporate the preceding paragraphs as if fully set forth herein.

        58.     Pursuant to Colorado Revised Statutes, section 18-4-401(1), “[a] person commits

theft when he or she knowingly obtains, retains, or exercises control over anything of value of

another without authorization or by threat or deception; or receives, loans money by pawn or

pledge on, or disposes of anything of value or belonging to another that he or she knows or believes

to have been stolen, and: (a) Intends to deprive the other person permanently of the use or benefit

of the thing of value; (b) Knowingly uses, conceals, or abandons the thing of value in such manner

as to deprive the other person permanently of its use or benefit; [or] (c) Uses, conceals, or abandons

the thing of value intending that such use, concealment, or abandonment will deprive the other

person permanently of its use or benefit.”

        59.     Defendants Spectrums USA, Brayer and CB2O has committed civil theft.

        60.     Defendants knowingly obtained, retained, or exercised control over a thing of

value, to wit, those property set forth within Exhibits “A” & “B”, attached hereto, belonging to

Plaintiffs or by deception, all of which Plaintiffs demanded to be returned and/or payment made.

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        61.     Defendants knowingly obtained, retained, or exercised control over this subject

property with the intent to deprive Plaintiffs permanently of the use or benefit.

        62.     As Spectrums USA is not a true entity but an alter ego of Christophe Brayer, Mr.

Brayer is personally liable for the actions of his alter ego, Spectrums USA.

        63.     Defendants refusal to return the subject property to Plaintiff, in Colorado, in the

same condition as provided, belonging to Plaintiffs or even respond to the Plaintiff’s demand is

evidence of Defendants specific intent to permanently deprive Plaintiffs of these things.

        64.     Plaintiffs have been injured for actual and consequential damages as a result of

Defendants civil theft of Plaintiff’s personal property in an amount approximating the sum of

$140,000/, and Plaintiffs are entitled to treble damages, costs of suit, and a reasonable attorney’s

fee pursuant to Colorado Revised Statutes, section 18-4-405; thus placing the damages in excess

of $320,000.

                                      PRAYER FOR RELIEF

        WHEREFORE, for the reasons alleged herein, Plaintiff prays for this Court to enter judgment

against the Defendants and in favor of Plaintiff for all damages incurred by Plaintiff, including treble

or other statutory damages, costs, expenses, attorneys’ fees, pre-judgment and post-judgment interest

as provided by Colorado and/or Federal law, and such further relief to which it may be entitled.

    DATED this 2nd day of December, 2019.

                                                S/ CRAIG A. BRAND
                                                ________________________________
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